Case 1:17-cr-00116-WES-PAS Document 39 Filed 03/18/20 Page 1 of 8 PagelD #: 222

UNITED STATES DISTRICT COURT
FOR THE

DISTRICT OF RHODE ISLAND

Marcio Alexandro Martinez-Lara
Petitioner

4 | Civil Action No.:

 

Crim. Action No.: 17-CR-00116 (WES)

United States of America
Respondent

MOTION FOR "STATUS UPDATE" PURSUANT
TO FRAP RULE 1, RULE 3, RULE 4 AND
RULE 5; PERTAINING TO THE
DELAYED FILING OF PETITIONER'S
RECENT FILING FOR MODIFICATION
OF SENTENCE UNDER 18 USC §3582

NOW COMES Mr. Martinez-Lara (Petitioner), pro se, and moves this
Honorable Court to Grant Petitioner a Status Update on why his filing
has not been filed (and docketed) with the Court pursuant FRAP Rules
and states the following:

1) Petitioner filed a Motion for Modification of Sentence pursuant
to 18 USC §3582 in light of new case precedent in favor of Petitioner;

2) Such a motion was received and signed for on 12/30/19 (See Attachment
#1 - Copy of the signed receipt by the Court Clerk);

3) As of this filing/Request for a Status Update, it is now sixty
(60) plus days and counting and Petitioner has not received notice of
the actual filing; nor a Civil Action Number per FRAP;

4) Pursuant to FRAP Rule 5 (Serving and Filing pleadings and other
papers); the Rule states:

-5(b)(2)(F); delivering service by any other means that the person
consented to in writing - in which event service is complete when
the person making service delivers it to the Agency (clerk) to make
delivery;

and

-5(d)(4)(Acceptance by Clerk) says, the clerk must not refuse to

 

 
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file a paper solely because it is not in the form prescribed by these
rules or by a local rule or practice;

5) Pursuant to FRAP Rule 3 (Commencing an Action) and Rule 4 (Summons) ;
the Rule states: |

-R(3) a civil action is commenced by filing a complaint with the
court;

“unless Rule 3 and Rule 4(A) are read together...substantive rights
of a person(s) may be seriously affected without their knowledge
that complaint has been filed in the Office of Clerk (Yudin v.
Carrol), 57 F.Supp.793 (D.Ark.1944).

6) Pursuant to FRAP Rule 1 (Scope and Purpose); the rule states:

These rules govern the procedure in all civil actions and proceedings:
in the United States district courts, except as stated in Rule 81.
They should be construed, administered, and employed by the court

and the parties to secure the just, speedy, and inexpensive
determination of every action and proceeding.

7) On or around January 8, 2020 Petitioner received notice from

the Govt. informing Petitioner that although they received the original
copy of Petitioner's §3582(c)(2) motion; the Docket had not yet reflected
that Petitioner's petition had officially been filed by the Court

clerk. (See Attachments #2).

8) By way of the above mentioned FRAP, Petitioner has met the correct
form and filing with the Court, and requests the Court to proceed
pursuant to Rule 1 and Rule 4; in which the Court must file, then
issue a Show Cause Order to the Respondent to being the appellate
proceedings and briefings;

WHEREFORE, Petitioner Mr. Martinez-Lara humbly requests that the
Court GRANT this Motion and advise why there is a delay in having his
18 USC §3582 Motion filed and docketed appropriately; and next, issue
a FRAP. Show Cause Order to the Respondents thus beginning the Briefing
Process and for such other and further relief deemed proper and necessary
in the Interest of Justice.

 

Dated: “4 - (NO. » 2020 Respectfully a te

/Y G4 orto 2 Whe /
Warcio Alexandro Martinez-Tata
Pro Se/Fed #04417-070
LSCI Allenwood
PO BOX 1000
White Deer PA 17887

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Case 1:17-cr-00116-WES-PAS ‘Document 39 Filed 03/18/20 Page 3 of 8 PagelD #: 224 :

AFFIDAVIT
I Hereby Certify that the foregoing facts are true and correct to the

best of my knowledge and beliet under penalty of perjury as per 28 USC Section
1746.

/V48 pak A, rant uns, Lona

Meiccis 6 Alexandro ‘Martinez-Lara pro Pose

CERTIFICATE OF SERVICE

IL Hereby Certify that a copy OE the: foregoing Petition/Motion was 5 mailed

on this j 2 day of 4 » 2090, by First Class Mail, postage

prepaid to:

Office of the US Attorney

Gerard B. Sullivan
50 Kennedy Plaza 8th Fl.
Providence RI 02903

 

 

Marcio.Alexandro Martinéz-Lara, pro se

 

 

 

 
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ATTACHMENT(S )

 

 
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U. S. Department of Justice

United States Attorney’s Office

 

 

District of Rhode Island

50 Kennedy Plaza, 8" Floor (401) 709-5000
Providence, Rhode Island 02903 - FAX (401) 709-5001
January 8, 2020

Marcio Alexandro Martinez Lara
Inmate No.: 04417-070

FCI Allenwood Low

Federal Correctional Institution
P.O. Box 1000

White Deer, PA 17887

Re: United States v. Marcio Alexander Martinez Lara, CR17-116-S

Dear Mr. Martinez Lara:

Enclosed please find the original copy of your Motion for Modification of Sentence
Pursuant to 18 U.S.C. § 3582(C)(2). This pleading is not currently filed with the United States
District Court. If you would like this pleading to be filed you must send the original to the
United States District Court at One Exchange Terrace, Providence, RI 02903:

Sincerely,

AARON L. WEISMAN,
United States — .

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( brand Ctl

GERARD B. SULLIVAN
Assistant U.S. Attorney

GBS/Ijb

Enclosure

Attachment #2

 
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IN THE UNITED STATES DISTRICT COURT Nf
FOR THE tow
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DISTRICT OF RHODE ISLAND Fy <r
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Ron
Marcio Alexandro Martinez-Lara . | A
(petitioner),
Vv.
Civil Action No.:
“United States of America ' Géiminal Action No.: 17-CR-00116(WES)
(Fespondent)

PETITIONER'S MOTION FOR MODIFICATION OF SENTENCE PURSUANT TO
18 U.S.C. 3582(C)(2) DUE TOF PETITIONER CHALLENGING THE
CONSTITUTIONALITY OF HIS WAIVER OF RIGHTS PERTAINING TO HIS
' PLEA AGREEMENT AS WELL AS CHALLENGING ILLEGAL COUNTS PLEAD
UNKNOWINGLY AND UNVOLUNTARILY CAUSING AN ERROR(S) IN
PETITIONER'S SENTENCING GUIDELINE CALCULATIONS
(AND ALIKE)
Now Comes, Marcio Alexandro Martinez-lara, Pro Se, (Hereinafter
Mc. Martinez-Lara or Petitioner), in the above-captioned matter, and
hereby requests that this Honorable Court, Pursuant to 18 U.S.C.
§ 3582(C)(2) GRANT Petitioner's Motion and Request for a Reduced
Sentence in light of multiple new changes in law and Supreme: Court
ruling in favor of Petitioner's case directly. As for Legal Reasons

there of, Mr. Martinez-Lara states the following:

I. BACKGROUND

Petitioner signed a plea agreement and plead guilty on or
around May 31, 2018. (See Dkt # 22 - Case 1:17-CR-00116-WES-PAS).

Petitioner plead guilty to count 1 through 14 of the indictment
which charges defendantwith: Distribution of Fentanyl (Counts 1, 3-6);
Distribution of Cocaine (Count 2); Possession with Intent to Disttbbute
40 grams or more of Fentanyl (Count 7); Possession with Intent to
Distribute a Kilogram or More of Heroin (Count 8); Possession with
Intent to Distribute 50 grams or More of Methamphetamine (Count 10);
Possession with Intent to Distribute Cocaine (Count 11); Conspiracy

to Distribute Controlled Substances (Count 12); Felon in Possession

 
 

 

 

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